          Case 1:22-vv-00057-UNJ Document 26 Filed 04/06/23 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-0057V
                                        UNPUBLISHED


    ELLSWORTH RAMSDELL,                                     Chief Special Master Corcoran

                        Petitioner,                         Filed: March 6, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

        On January 18, 2022, filed a petition for compensation under the National Vaccine
Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine Act”).
Petitioner alleges that he suffered from Guillain-Barre Syndrome (“GBS”) as a result of
an influenza vaccination he received on October 1, 2019. Petition at 1. Petitioner further
alleges the residual effects of his GBS have persisted for more than six months. Petition
at ¶¶7-8. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On March 6, 2023, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:22-vv-00057-UNJ Document 26 Filed 04/06/23 Page 2 of 2




Specifically, Respondent states that “it is Respondent’s position that Petitioner has
satisfied the criteria set forth in the Vaccine Injury Table (“Table”) and the Qualifications
and Aids to Interpretation (“QAI”), which afford Petitioner a presumption of causation if
the onset of GBS occurs between three and forty-two days after a seasonal flu vaccination
and there is no apparent alternative cause.” Id. at 8. Respondent further agrees that “the
records show that Petitioner timely filed his case, that he received the flu vaccine in the
United States, and that he satisfies the statutory severity requirement by suffering the
residual effects or complications of his injury for more than six months after vaccine
administration.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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